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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

 Preterm-Cleveland, et al.,                    )
                                               )
                Plaintiffs,                    ) Case No.: 1:19-cv-00360
                                               )
                vs.                            ) Judge Michael R. Barrett
                                               )
 David Yost, et al.,                           )
                                               )
                Defendants.                    )
                                               )
                                               )

   ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       On May 15, 2019, Plaintiffs Preterm-Cleveland, Planned Parenthood Southwest

Ohio Region, Sharon Liner, M.D., Planned Parenthood of Greater Ohio, Women’s Med

Group Professional Corporation, and Capital Care Network of Toledo (collectively,

“Plaintiffs”) filed a Verified Complaint challenging the constitutionality of Ohio Senate Bill

23 of the 133rd General Assembly. (Doc. 1). With their Verified Complaint, Plaintiffs

filed a Motion for a Temporary Restraining Order and/or Preliminary Injunction. (Doc.

2). During the informal conference held on May 20, 2019 pursuant to S.D. Ohio Civ. R.

65.1, Plaintiffs advised the Court of their preference for a ruling only on their Motion for

Preliminary Injunction (and not their Motion for a Temporary Restraining Order) in light

of the July 11, 2019 effective date of the statute. Plaintiffs and the Ohio Attorney

General agreed that there was no need for discovery or an evidentiary hearing. They

established a briefing schedule, and asked that the Court render its decision by July 5,

2019 based on the memoranda alone. This Order follows.




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    I.      BACKGROUND

    A. Statutory Framework Giving Rise to Plaintiffs’ Complaint

         The Ohio General Assembly passed Senate Bill 23 (“S.B. 23” or the “Act”), also

known as the “Heartbeat Protection Act,” on April 10, 2019.                Governor Mike DeWine

signed the bill into law the next day, April 11, 2019. It is set to go into effect on July 11,

2019. Ohio law already requires an abortion provider to first determine whether there is

detectable cardiac activity. 1 Once in effect, the Act will make it a crime to “caus[e] or

abet[] the termination of” the pregnancy. S.B. 23 § 1, amending Ohio Rev. Code §

2919.195(A).

         The Act has two exceptions. S.B. 23 allows abortion care after cardiac activity is

detected only if the abortion is necessary to prevent the patient’s death or “a serious risk

of the substantial and irreversible impairment of a major bodily function.” S.B. 23, § 1,

amending Ohio Rev. Code § 2919.195(B). “‘Serious risk of substantial and irreversible

impairment of a major bodily function’ means any medically diagnosed condition that so

complicates the pregnancy of the woman as to directly or indirectly cause the

substantial and irreversible impairment of a major bodily function,” which “includes pre-

eclampsia, inevitable abortion, and premature rupture of the membranes[ and] may

include, but is not limited to, diabetes and multiple sclerosis[ but] does not include a

condition related to the woman’s mental health.” Ohio Revised Code § 2919.16(K).




1
 As currently written, the statute provides: “The person who determines the presence or absence of a
fetal heartbeat shall record in the pregnant woman’s medical record the estimated gestational age of the
unborn human individual, the method used to test for a fetal heartbeat, the date and time of the test, and
the results of the test.” Ohio Rev. Code § 2919.191(A). In addition, “The person who performs the
examination for the presence of a fetal heartbeat shall give the pregnant woman the option to view or
hear the fetal heartbeat.” Id. § 2919.191(C).

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          A violation of the Act is a fifth-degree felony, punishable by up to one year in

prison and a fine of $2,500. S.B. 23 § 1, amending Ohio Rev. Cod. § 2919.195(A); Ohio

Rev. Code §§ 2929.14(A)(5), 2929.18(A)(3)(e). The state medical board may assess a

forfeiture of up to $20,000 for each violation of the Act, S.B. 23 § 1, amending Ohio Rev.

Code § 2919.1912(A), and limit, revoke, or suspend a physician’s medical license

based on a violation of the Act, see Ohio Rev. Code § 4371.22(B)(10). A patient also

may bring a civil action against a provider who violates the Act and recover damages in

the amount of $10,000 or more. S.B. 23 § 1, amending Ohio Rev. Code § 2919.199

(B)(1).

   B. Plaintiffs’ Verified Complaint

          In a nutshell, S.B. 23 bans abortion care at and after approximately six weeks in

pregnancy. And, in so doing, according to Plaintiffs—a collection of reproductive health

care clinics and physicians providing abortion care—violates a woman’s right to privacy

as guaranteed by the Fourteenth Amendment.

          In a normally developing embryo, cells that form the basis for development of the

heart later in gestation produce activity that can be detected with ultrasound. (Doc. 1 ¶

30 at PageID 10). Consistent with common medical practice, as well as existing law,

see Ohio Rev. Code § 2919.191(A), Plaintiffs perform an ultrasound to date the

pregnancy and to determine whether there is any detectable cardiac activity. (Id. ¶ 31).

An ultrasound can be performed in one of two ways: either by placing a transducer on

the patient’s abdomen or by inserting a probe into the patient’s vagina. (Id.). Many

abortion providers, including those at the clinics that are Plaintiffs in this civil action, use

vaginal ultrasound to confirm and date early pregnancy. (Id.). Using vaginal

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ultrasound, cardiac activity generally is detectable at approximately six weeks in

pregnancy, or six weeks LMP. 2 (Id. ¶ 32 at PageID 11). At six weeks LMP, an embryo 3

is not capable of surviving outside the womb. (Id. ¶ 34). In other words, it is a pre-

viability point in pregnancy. (Id.).

        At six weeks LMP, many women are unaware that they are pregnant. (Id. ¶ 36).

Typically the menstrual cycle is approximately four weeks long, but varies based on the

individual. (Id.).     Assuming a woman has consistently regular periods, she would be

considered four weeks pregnant as measured from her LMP when her missed period

occurs. (Id.). Those who have irregular periods—caused by common medical

conditions, contraceptive use, age or breastfeeding—or those who experience bleeding

during early pregnancy that could be mistaken for a period may not even realize that

they missed a period. (Id. ¶¶ 37–39 at PageID 11–12). But assuming a patient does

know that she is pregnant, there are certain logistical obstacles to obtaining abortion

care before six weeks in pregnancy. (Id. ¶ 40 at PageID 12). She will need to schedule

an appointment, make sure of payment, 4 and arrange for transportation, time off of work

and possibly childcare 5 during appointments. (Id. ¶ 42). A minor patient, unless

emancipated, also must obtain written parental consent or a court order. (Id. ¶ 43; Ohio

Rev. Code § 2919.121). And all patients, regardless of age, must make two in-person


2
  Pregnancy is measured from the first day of the patient’s last menstrual period (“LMP”). (Doc. 1 ¶ 35 at
PageID 11). A full-term pregnancy is approximately 40 weeks LMP. (Id.).
3
  The embryonic stage of pregnancy lasts from fertilization until approximately eight-to-ten weeks LMP.
(Doc. 1 ¶ 31 at PageID 10 n.4). The embryo becomes a fetus at about 11 weeks LMP. (Id.).
4
  Ohio law prohibits public insurance, including Medicaid, and insurance purchased on the state exchange
from covering abortion care except when a patient’s physical health or life is at risk or when the
pregnancy is the result of rape or incest and that rape or incest has been reported to law enforcement.
Ohio Rev. Code §§ 9.04, 3901.87; Ohio Admin. Code § 5160-17-01.
5
  A majority (61%) of those patients having abortions already have at least one child. (Doc. 1 ¶ 47 at
PageID 13).

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trips—at least 24 hours apart—to the clinic before they can obtain an abortion. (Doc. 1

¶¶ 41, 43 at PageID 12; Ohio Rev. Code § 2317.56). These reasons explain why the

vast majority of abortions in Ohio—approximately 90%—take place at or after six weeks

LMP. (Doc. 1 ¶44 at PageID 13). S.B. 23, therefore, will prohibit almost all abortion care

in Ohio. (Id. ¶ 45).

   II.      ANALYSIS

         As final relief, Plaintiffs seek an Order from this Court declaring the Act

unconstitutional, and a permanent injunction barring its enforcement. The purpose of a

preliminary injunction is to preserve the status quo prior to entry of the final order. Univ.

of Tex. v. Camenisch, 451 U.S. 390, 395 (1981). In considering a preliminary

injunction, the court considers four elements: "(1) whether the movant has a strong

likelihood of success on the merits; (2) whether the movant would suffer irreparable

injury without the injunction; (3) whether issuance of the injunction would cause

substantial harm to others; and (4) whether the public interest would be served by

issuance of the injunction." City of Pontiac Retired Emps. Ass'n v. Schimmel, 751 F.3d

427, 430 (6th Cir. 2014) (citations omitted). “These four considerations are factors to be

balanced, not prerequisites that must be met.” Kessler v. Hrivnak, No. 3:11-cv-35, 2011

WL 2144599, at *3 (S. D. Ohio May 31, 2011). "Although no one factor is controlling, a

finding that there is simply no likelihood of success on the merits is usually fatal." Id.

(citation omitted)




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   A. Likelihood of Success

       The Court concludes, based on current United States Supreme Court precedent,

that Plaintiffs are certain to succeed on the merits of their claim that S.B. 23 is

unconstitutional on its face.

       The law is well-settled that women possess a fundamental constitutional right of

access to abortions. Roe v. Wade, 410 U.S. 113, 153-54 (1973). Yet the right to

terminate a pregnancy is not absolute: “[A] state may regulate abortion before viability

as long as it does not impose an ‘undue burden’ on a woman’s right to terminate her

pregnancy.” Women’s Med. Prof’l Corp. v. Taft, 353 F.3d 436, 443 (6th Cir. 2003)

(quoting Planned Parenthood of Southeastern Pa. v. Casey, 505 U.S. 833, 876 (1992)

(emphasis added)). The undue burden test recently was summarized by the Supreme

Court as follows: “[T]here ‘exists’ an ‘undue burden’ on a woman's right to decide to

have an abortion, and consequently a provision of law is constitutionally invalid, if the

‘purpose or effect’ of the provision ‘is to place a substantial obstacle in the path of a

woman seeking an abortion before the fetus attains viability.’” Whole Woman's Health

v. Hellerstedt, 136 S. Ct. 2292, 2300 (2016) (quoting Casey, 505 U.S. at 878 (emphasis

added in Hellerstedt)). As with the majority of other circuits, the Sixth Circuit follows

Casey’s “large-fraction test” when considering facial attacks on abortion regulations.

Cincinnati Women’s Servs. v. Taft, 468 F.3d 361, 367 (6th Cir. 2006). Accordingly,

Plaintiffs must show that, “in a large fraction of the cases in which [the abortion

restriction] is relevant, it will operate as a substantial obstacle to a woman’s choice to

undergo an abortion.” Id. (quoting Casey, 505 U.S. at 895). Plaintiffs’ 90% statistic—

which Defendants do not challenge—amply suffices. S.B 23, as its sponsors intended,

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will have the effect of preventing nearly all abortions in Ohio. A woman with highly

regular periods would have only two weeks, at most, “to learn that she is pregnant,

decide whether to have an abortion, and seek and obtain abortion care.” (Doc. 2 at

PageID 58). A woman with irregular periods likely will be denied the opportunity to seek

an abortion altogether because she will not realize that she is pregnant in time to

choose her fate. One could characterize the obstacle Ohio women will face as not

merely “substantial,” but, rather, “insurmountable.” See Preterm-Cleveland v. Himes,

294 F. Supp. 3d 746, 754 (S.D. Ohio 2018), appeal docketed, No. 18-3329 (6th Cir. Apr.

12, 2018). As a matter of law, therefore, Casey dictates a finding in Plaintiffs’ favor on

the likelihood of success on the merits. To their credit, Defendants concede this point.

(Doc. 17 at PageID 104 (“This Court’s decision on Plaintiffs’ motion for preliminary

injunction is likely controlled by decisions in other abortion-related cases that apply a

judicially created constitutional construct: viability. To the extent the Heartbeat

Protection Act conflicts with existing viability precedent, such precedent controls.”); at

PageID 107 (“To the extent that this Court finds that there exists a conflict between the

Act and Casey, it will inevitably conclude that, as a matter of law, Casey controls.”); at

PageID 111 (“[A]t the preliminary injunction phase this Court is bound by Casey.”); and

at PageID 112 (“[T]his Court is likely bound by Casey.”)).

       Plaintiffs cite a number of cases in which attempts to ban abortion prior to

viability have been rejected. See, e.g., Edwards v. Beck, 786 F.3d 1113 (8th Cir. 2015)

(finding unconstitutional Arizona Human Heartbeat Protection Act prohibiting abortion

starting at 12 weeks), cert. denied, 136 S. Ct. 895 (2016); Isaacson v. Horne, 716 F.3d

1213 (9th Cir. 2013) (finding unconstitutional Arizona statute forbidding abortion starting


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at 20 weeks), cert. denied, 134 S. Ct. 905 (2014); Jackson Women’s Health Org. v.

Currier, 349 F. Supp. 3d 536 (S.D. Miss. 2018) (finding unconstitutional Mississippi

statute forbidding abortion starting at greater than 15 weeks), appeal docketed sub

nom. Jackson Women’s Health Org. v. Dobbs, No. 18-60868 (5th Cir. Dec. 17, 2018).

And, thus far, all other attempts by states to ban abortion beginning at the detection of

cardiac activity have been invalidated. MKB Mgmt. Corp. v. Stenehjem, 795 F.3d 768,

772–73 (8th Cir. 2015) (North Dakota), cert. denied, 136 S. Ct. 981 (2016); Jackson

Women’s Health Org., v. Dobbs, --- F. Supp. 3d ---, No. 3:18-cv-171-CWR-FKB, 2019

WL 2240532 (S.D. Miss. May 24, 2019) (Mississippi), appeal docketed, No. 19-60455

(5th Cir. June 24, 2019); Planned Parenthood of the Heartland, Inc. v. Reynolds, No.

EQCE83074, 2019 WL 312072 (Iowa Dist. Jan. 22, 2019) (Iowa).

       In response, Defendants argue that Casey’s viability “construct” is flawed

because of the ongoing advancement of medical technology. (Doc. 17 at PageID 108).

A “blanket approach to viability” fails to account for advancements regarding “the point

at which fetal cardiac activity, and fetal life can be protected,” and hence “falls far short

of safeguarding the state’s interest in protecting life.” (Id.). Not so, say Plaintiffs, and

this Court agrees. As noted in Casey:

       We have seen how time has overtaken some of Roe’s factual
       assumptions: advances in maternal health care allow for
       abortions safe to the mother later in pregnancy than was true in
       1973, and advances in neonatal care have advanced viability to a
       point somewhat earlier. But these facts go only to the scheme of
       time limits on the realization of competing interests, and the
       divergences from the factual premises of 1973 have no bearing on
       the validity of Roe’s central holding, that viability marks the earliest
       point at which the State’s interest in fetal life is constitutionally
       adequate to justify a legislative ban on nontherapeutic abortions.
       The soundness or unsoundness of that constitutional judgment in

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       no sense turns on whether viability occurs at approximately 28
       weeks, as was usual at the time of Roe, at 23 to 24 weeks, as it
       sometimes does today [in 1992], or at some moment even slightly
       earlier in pregnancy, as it may if fetal respiratory capacity can
       somehow be enhanced in the future. Whenever it may occur, the
       attainment of viability may continue to serve as the critical
       fact, just as it has done since Roe was decided; which is to say
       that no change in Roe’s factual underpinning has left its
       central holding obsolete, and none supports an argument for
       overruling it.


Casey, 505 U.S. at 860 (internal citations omitted) (emphasis added). And more to the

point regarding the question presented to this Court:

       [T]he concept of viability, as we noted in Roe, is the time at which
       there is a realistic possibility of maintaining and nourishing a life
       outside the womb, so that the independent existence of the second
       life can in reason and all fairness be the object of state protection
       that now overrides the right of the woman. Consistent with other
       constitutional norms, legislatures may draw lines which appear
       arbitrary without the necessity of offering a justification. But
       courts may not. We must justify the lines we draw. And there
       is no line other than viability which is more workable. To be
       sure, as we have said, there may be some medical
       developments that affect the precise point of viability, but this
       is an imprecision within tolerable limits given that the medical
       community and all those who must apply its discoveries will
       continue to explore the matter. The viability line also has, as a
       practical matter, an element of fairness. In some broad sense it
       might be said that a woman who fails to act before viability has
       consented to the State’s intervention of behalf of the developing
       child.
       The woman’s right to terminate her pregnancy before viability
       is the most central principle of Roe v. Wade. It is a rule of law
       and a component of liberty we cannot renounce.


Id. at 870–71 (internal citations omitted) (emphasis added).

       Defendants refer to testimony considered by the Ohio General Assembly in the

course of passing S.B. 23 to the effect that “it is unsupportable to consider all unborn

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children ‘viable’ at the exact same gestational point in time.” (Doc. 17 at PageID 109

(citing Doc. 17-6, Written Testimony of David F. Forte)). And “[d]octors hold varying

opinions on when viability actually occurs, and a doctor’s estimate can have a high

margin of error.” (Id.). Defendants offer no testimony, however, that viability exists at

six weeks LMP.

         This Court concludes that S.B. 23 places an “undue burden” on a woman’s right

to choose a pre-viability abortion, and, under Casey, Plaintiffs are certain to succeed on

the merits of their claim. To the extent that the State of Ohio “is making a deliberate

effort to overturn Roe [v.Wade] and established constitutional precedent,” see Jackson

Women’s Health, 349 F. Supp. 3d at 544, those arguments must be made to a higher

court.

     B. Irreparable Harm

         Plaintiffs argue that their patients will suffer serious and irreparable harm in the

absence of a preliminary injunction, because allowing the Act to take effect will prevent

Ohio women from exercising their constitutional right to reproductive freedom as

protected by the Fourteenth Amendment. 6 “[A] plaintiff can demonstrate that a denial of

an injunction will cause irreparable harm if the claim is based upon a violation of the

plaintiff’s constitutional rights.” Overstreet v. Lexington-Fayette Urban Cty. Gov’t, 305

F.3d 566, 578 (6th Cir. 2002); accord Elrod v. Burns, 427 U.S. 347, 373 (1976) (“The

loss of [constitutional] freedoms . . . unquestionably constitutes irreparable injury.”).



6
 While clinics and physicians do not possess a constitutional right to perform abortions, they have
standing to assert constitutional challenges on behalf of their patients in the abortion context. See
Planned Parenthood of Greater Ohio v. Hodges, 917 F.3d 908 (6th Cir. 2019).

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Inasmuch as this Court has determined that S.B. 23 places an “undue burden” on a

woman’s right to choose a pre-viability abortion, and thus violates her right to privacy

guaranteed by the Fourteenth Amendment, we further determine that its enforcement

would, per se, inflict irreparable harm. This second factor, then, weighs in favor of

Plaintiffs.

    C. Harm to Others

        Plaintiffs argue that, while their patients will suffer irreparable harm without an

injunction, Defendants will suffer no injury whatsoever. Plaintiffs are correct. To be

sure, Casey acknowledged the State’s “legitimate interest from the outset of the

pregnancy in protecting the . . . life of the fetus that may become a child.” Casey, 505

U.S. at 846. But that acknowledgement was preceded with the recognition that “[b]efore

viability, the State’s interests are not strong enough to support a prohibition of

abortion or the imposition of a substantial obstacle to the women’s effective right to elect

the procedure.” Id. (emphasis added). An injunction will preserve the status quo that

has been in place for more than 40 years since Roe was decided, and some 25 years

since Casey followed. See Jackson Womens’ Health Org. v. Currier, 940 F. Supp. 2d

416, 424 (S.D. Miss. 2013). Whether the status quo will change upon appeal remains

to be seen. The third factor, then, weighs in favor of Plaintiffs.

    D. Public Interest

        “[T]he public interest is promoted by the robust enforcement of constitutional

rights,” Am. Freedom Def. Initiative v. Suburban Mobility Auth. for Reg’l Transp., 698

F.3d 885, 896 (6th Cir. 2012), and it is in the public’s interest to uphold those rights if


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they are being denied “absent medical or other legitimate concerns.” Doe v. Barron, 92

F. Supp. 2d 694, 697 (S.D. Ohio 1999). 7 The fourth factor, then, weighs in favor of

Plaintiffs.

     III.      CONCLUSION

            For the foregoing reasons, Plaintiffs’ Motion for Preliminary Injunction (Doc. 2) is

GRANTED. Specifically, all Defendants, their officers, agents, servants, employees,

and attorneys, and those persons in active concert or participation with them who

receive actual notice of this Order, are preliminarily enjoined from enforcing or

complying with S.B. 23 pending further Order of this Court. Additionally, and consistent

with the foregoing reasons, the Court waives the bond requirement set forth in Fed. R.

Civ. P. 65(c). Molton Co. v. Eagle-Picher Indus., Inc., 55 F.3d 1171, 1176 (6th Cir.

1995) (district court has discretion to issue preliminary injunction with no bond).

            IT IS SO ORDERED.
                                                        s/ Michael R. Barrett
                                                        Michael R. Barrett, Judge
                                                        United States District Court




7
  Defendants accurately quote Justice Rehnquist in New Motor Vehicle Bd. v. Orrin W. Fox. Co., 434 U.S.
1345, 1351 (1977) (“It also seems to me that any time a State is enjoined by a court from effectuating
statutes enacted by representatives of its people, it suffers a form of irreparable injury.”). A retail
automobile dealer’s right to relocate as defined by state law, however, is hardly comparable to a woman’s
right to choose as guaranteed by the United States Constitution.

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